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MARK J. GERAGOS SBN 108325
BEN J. MEISELAS SBN 277412

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‘Attorneys for Plaintiff BIG3 BASKETBALL, LLC, O’SHEA JACKSON

AKA ICE CUBE, AND JEFF KWATINETZ

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BIG3 LLC, a limited liability company;
O’Shea Jackson a/k/a lee Cube, an
individual; and Jeft` Kwatinetz, an

Case NO. 2:18-CV-03466-DMG-SK

Assigned for all purposes to

individual; Hon. Dolly M. Gee

Plaintiffs DECLARATION OF BEN MEISELAS

IN SUPPORT OF PLAINTIFFS’

VS- MOTI()N F()R LEAVE TO

Ahmed Al-Rumaihi, an individual; Faisal
Al-Harnadi, an individual; Ayman Sabi, an
individual; Sheikh Abdullah bin Moharnrned
bin Sau Al Thani, an individual and as CEO
of Qatar Investment Authority; DOES l-lOO

 

Defendants.

 

 

 

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CONDUCT .]URISDICTIONAL
DISCOVERY

DECLARATION OF BEN MEISELAS

 

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l BEN MEISELAS DECLARE,

1. l am an attorney of record for Plaintiffs and l am licensed to practice law
before this Court and this State. lf called as a witness I could and would testify to the
following

2. After exchanging written correspondence the week prior, on Wednesday, May
2, 2018, l completed a local Rule 7-3 Conference with Brian Hershman, attorney for
Defendants Ahmed Al-Rumaihi, Ayman Sabi, and Faisal Al-Hamadi. The meet and confer
was to discuss (l) Plaintiffs’ anticipated Motion for Limited Jurisdictional Discovery, and
(2) Defendants' anticipated Motion to Strike.

3. I informed Mr. Hershman that the jurisdictional motion and issues surrounding
Plaintiffs’ contention that Defendants improperly removed this action must be addressed first
before the Motion to Strike is heard. Obviously, if this Court does not have jurisdiction in
this case, it cannot entertain the Motion to Strike.

4. In order to resolve our view that Mr. Al-Rumaihi is now a permanent resident
and domiciled in Los Angeles, California, since purchasing and/or leasing homes in Los
Angeles, California in November and December 2017, l requested that Mr. Hershman
informally exchange and provide limited documents and information, subject to lawful and
agreed upon redactions. Mr. Hershman rejected this request and stated “go file the motion.”
Mr. Hershman filed a Motion to Strike on Friday, May 4, 2018 prior to giving Plaintiffs an
opportunity to file their motion for jurisdictional discovery as I discussed during the meet
and confer. Defendants’ scheduled the motion to provide only 5 days for Plaintiffs to

respond to the Motion to Strike.
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I)ECLARATION 0F BEN MEIsELAs

 

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5. Attached hereto as Exhibit “A” is a true and correct copy of the limited
jurisdictional discovery Plaintiffs requested, and are requesting, only as to Defendant Al-
Rumaihi in this action. Plaintiffs do not seek any additional jurisdictional discovery.

I DECLARE THE FOREGOING IS TRUE AND CORRECT UNDER PENALTY
PERJURY.

DATED: May 7, 2018

 

 

BEN MEISELAS

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DECLARATION 0F BEN MnlsELAs

 

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EXHIBIT “A”

PLAINTIFFS’ LIMITED .]URISDICTI()NAL DISCOVERY
REOUEST FOR PRODUCTION OF DOCUMENTS:

TO DEFENDANT AHMED AL -R UMAIHI, PLEASE PROD UCE THE FOLLO WING
DOCUMENTS.'

l. A copy of the B-l Visa alleged in your declaration filed in connection with the
removal, and all extensions of time for the Bl Visa filed by you.

2. A copy of the lease and/or purchase agreements for the home in (l) Venice, California
and (2) Beverly Hills, California.

3. A copy of the lease agreement for the Bentley SUV kept in Los Angeles, that you are
driven in.

4. A copy of any loan agreements with any Los Angeles bank, bankers, and lenders for
$5 million or more.

INTERROGATORIES:

TO DEFENDANTAHMED AL-R UMIHL PLEASE ANSWR THE FOLLOWING
INTERROGA TORIES.‘

l. List all dates you were' a United States citizen.

2. List the dates When you renounced your United States Citizenship.

3. List the business activities of a commercial or professional nature in the United States
under which you claim _to hold a Bl-Visa.

4. In the past three years, list the dates you have been in the United States without
departure, and list the dates you have been in Qatar without departure

5 . List any and all immigration documents you hold, including but not limited

diplomatic status.

List the date when you were last in Qatar.

List the date you are scheduled to return to Qatar.

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Exhibit “A” to Declaratiuu of Ben Meiselas

 

